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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

 CLOVER COFFIE, ELIJAH SMITH, AND
 SHANTE LEGRAND, individually and on behalf               Case No. 9:19-cv-80730-RS-MM
 of all others similarly situated,                        CLASS ACTION

        Plaintiffs,
 v.

 FLORIDA CRYSTALS CORPORATION et. al.,

       Defendants.
 _______________________________________/

  NOTICE OF VOLUNTARY DISMISSAL AS TO DEFENDANTS AMERICAN SUGAR
              REFINING, INC. AND FLO-SUN, INCORPORATED

        Plaintiffs Clover Coffie, Elijah Smith, and Shante Legrand, acting through undersigned

 counsel and pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure dismiss,

 without prejudice, Defendants American Sugar Refining, Inc. and Flo-Sun, Incorporated, with

 each party to bear its own attorney’s fees and costs.

 Dated: October 18, 2019                                 THE BERMAN LAW GROUP

                                                         _____/s Zachary West______
                                                         Joseph Schulz, Esq.
                                                         Florida Bar No. 660620
                                                         Matthew T. Moore, Esq.
                                                         Florida Bar No. 70034
                                                         Zachary West, Esq.
                                                         Florida Bar No. 71134
                                                         P.O. Box 272789
                                                         Boca Raton, FL 33427
                                                         Tel: 561-826-5200
                                                         Fax: 561-826-5201
                                                         service@thebermanlawgroup.com
                                                         mmoore@thebermanlawgroup.com
                                                         zwest@thebermanlawgroup.com




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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 18th day of October, 2019, a true copy of the foregoing

 has been electronically filed with the Clerk of Court by using the CM/ECF system, and copies of

 the foregoing were served via the Court’s CM/ECF upon all counsel of record.



                                                           _____/s Zachary West_______
                                                           Zachary West, Esq.




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